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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA



K.W., a minor by parent and natural                  )
Guardian NICHOLAS WISER; and                         )
NICHOLAS WISER, in his own right,                    )
                                                     )           Civil Action
                                                     )
                      Plaintiffs,                    )           No. 2:17-cv-01189-CB
                                                     )
              v.                                     )
                                                     )
THE ELLIS SCHOOL,                                    )
                                                     )
                      Defendant.                     )
                                                     )
                                                     )
                                                     )

                                        Order of Court

       AND NOW, on this ___________ day of __________ 2019, upon consideration of

Plaintiffs’ Motion for Telephonic Participation in Mediation, it is hereby ORDERED,

ADJUDGED, and DECREED that Ms. Lindsey Barrowmen shall be permitted to participate in

the April 4, 2019 mediation session via telephone.



                                                     ____________________________J.
                                                     Cathy Bissoon
                                                     United States District Judge


	
